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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
                             EASTERN DIVISION
________________________________________

SERVICIOS FUNERARIOS GG, S.A. DE C.V.,                      Case No. 23-cv-10684

       Plaintiff/Counter-Defendant,

       v.

ADVENT INTERNATIONAL CORPORATION,

      Defendant/Counter-Plaintiff.
________________________________________


DECLARATION OF CARLOS M. SIRES IN SUPPORT OF SERVICIOS FUNERARIOS
   GG, S.A. DE C.V.’s SERVICIOS FUNERARIOS’S LIMITED OBJECTIONS TO
MAGISTRATE JUDGE BOAL’S ORDER ON DEFENDANT’S MOTION TO COMPEL

                                       (ORDER NO. 182)

       I, Carlos M. Sires, a Partner of the law firm of Boies Schiller Flexner, LLP that represents

Plaintiff and Counterclaim-Defendant Servicios Funerarios GG, S.A. DE C.V. (“Servicios

Funerarios”) in this matter, respectfully submit this Declaration in Support of Servicios

Funerarios’s Limited Objections to Magistrate Judge Boal’s Order [Doc. 182] on Defendant’s

Motion to Compel and hereby state as follows:

       1.      Exhibit A annexed hereto is Servicios Funerarios’s counsel’s November 14, 2023,

request to the Mexico Prosecutor, with an automated translation attached thereto.

       2.      Exhibit B annexed hereto is the Mexico Prosecutor’s November 17, 2023, denial,

translated with the assistance of machine-translation software.

       The foregoing is true and correct to the best of my knowledge.

Dated: November 21, 2023                             Respectfully submitted,

 LESSER, NEWMAN, ALEO & NASSER LLP                BOIES SCHILLER FLEXNER LLP
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                                                   Servicios Funerarios GG, S.A. de C.V.


                                 CERTIFICATE OF SERVICE

       I, Carlos M. Sires, hereby certify that the above was filed through the ECF system and

that I have caused a true and correct copy of the above to be served on Plaintiff’s counsel.


Date: November 21, 2023                              By:/s/ Carlos M. Sires
                                                            Carlos M. Sires
